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 4   Attorney for Defendant Ryan T. Remington

 5                                                                                         8048-1

 6                               UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF ARIZONA

 8                                                   )   Case No.: 4:22-cv-00429-JGZ
         Estate of Richard Lee Richards by           )
 9       Special Administrator Victoria              )
                                                         DEFENDANT REMINGTON’S
         Richards,                                   )   NOTICE OF FILING NON-
10                                                   )   ELECTRIC EXHIBITS IN SUPPORT
                               Plaintiffs,           )   OF MOTION FOR SUMMARY
11                                                   )   JUDGMENT
         vs.                                         )
12                                                   )
         Ryan T. Remington and City of Tucson,       )   (Hon. Jennifer G. Zipps)
13                                                   )
                               Defendants.           )
14                                                   )

15             Counsel for Defendant, Ryan T. Remington, gives notice that it is filing a USB drive

16   with the below non-electronic exhibits to Defendant Remington’s Statement of Facts in

17   Support of Defendant’s Motion for Summary Judgment pursuant to the Court’s Order dated

18   June 20, 2024 granting Defendant’s Motion for Permission to File Non-Electronic Exhibits

19   to Defendant’s Separate Statement of Facts in Support of Motion for Summary Judgment.

20   (Dkt. 94).

21   \

                                                    1
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 1           Exhibit A         Video surveillance from Walmart at 1650 West Valencia Rd

 2           Exhibit B         Body-cam video for Officer Stephanie Wade

 3           Exhibit C         Video surveillance footage from Lowe’s at 1800 West Valencia Rd

 4           A copy of this notice along with a USB drive containing the above exhibits will be

 5   mailed/hand-delivered to opposing counsel as noted below.

 6

 7   John H. Bradley
     Strang Bradley, LLC
 8   613 Williamson Street
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 9   Madison WI 53703
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13   Attorney for Defendant City of Tucson
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14

15           DATED this 24th day of June, 2024.

16                                                        HUMPHREY & PETERSEN, P.C.

17                                                        /s/ Andrew Petersen
                                                          Andrew J. Petersen
18                                                        Attorney for Defendant

19   /s/ Cassandra Marie Chambers

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20

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